Dear Secretary Carnahan:
This office received your letter of February 3, 2006, submitting to us a summary statement prepared under Section116.334, RSMo, for a constitutional amendment relating to a tobacco tax (petition printed on cream paper). The proposed summary statement is as follows:
  Shall the Missouri Constitution be amended to create a Healthy Future Trust Fund which will:
  1. be used to reduce and prevent tobacco use, to increase funding for healthcare access and treatment for eligible low-income individuals and Medicaid recipients, and to cover administrative costs;
  2. be funded by a tax of four cents per cigarette and twenty percent on other tobacco products; and
  3. be kept separate from general revenue and annually audited?
Pursuant to Section 116.334, we approve the legal content and form of the proposed statement. Because our review of the statement is mandated by statute, no action that we take with respect to such review should be construed as an endorsement of the resolution, nor as the expression of any view regarding the objectives of its proponents.
Very truly yours,
                                    JEREMIAH W. (JAY) NIXON Attorney General